Case 2:23-cv-03885-LMG-LDW           Document 188       Filed 12/04/24     Page 1 of 2 PageID:
                                           9859



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


 STATE OF NEW JERSEY,

                       Plaintiff,
                       v.

 UNITED STATES DEPARTMENT OF
 TRANSPORTATION, FEDERAL HIGHWAY
 ADMINISTRATION, SHAILEN BHATT, in his
 official capacity as Administrator of the Federal     Hon. Leo M. Gordon
 Highway Administration, and RICHARD J.
 MARQUIS, in his official capacity as Division         No. 2:23-cv-03885-LMG-LDW
 Administrator of the New York Division of the
 Federal Highway Administration,                       NOTICE OF MOTION FOR
                                                       LEAVE TO WITHDRAW PRO
                       Defendants,                     HAC VICE APPEARANCES

       and

 THE METROPOLITAN TRANSPORTATION
 AUTHORITY and THE TRIBOROUGH
 BRIDGE AND TUNNEL AUTHORITY,

                       Intervenor-Defendants.



TO: ALL COUNSEL OF RECORD

       PLEASE TAKE NOTICE that on January 6, 2025, or as soon thereafter as counsel may

be heard, Sive, Paget & Risel P.C., the attorneys for Intervenors-Defendants, Metropolitan

Transportation Authority and Triborough Bridge and Tunnel Authority (collectively, “Intervenor-

Defendants”) shall move, pursuant to Local Civil Rule 101.1(c)(5), before the Honorable Leo M.

Gordon of the United States District Court, District of New Jersey, for leave to withdraw the pro

hac vice appearances of Gabrielle E. Tenzer, Joshua A. Matz, and Kate Harris as counsel for

Intervenor-Defendants in the above captioned case.
Case 2:23-cv-03885-LMG-LDW           Document 188        Filed 12/04/24       Page 2 of 2 PageID:
                                           9860



        PLEASE TAKE FURTHER NOTICE that pursuant to Local Civil Rule 7.1(d)(4) no

brief in support of this motion is necessary because (1) Intervenor-Defendants will continue to be

represented by the remaining counsel of record from Sive, Paget & Riesel P.C. and Kaplan Martin

LLP, and (2) the withdrawals do not relate to any procedural or substantive legal issues raised in

this matter.

        PLEASE TAKE FURTHER NOTICE that a proposed form of Order is respectfully

submitted herewith.



Dated: December 4, 2024                             Respectfully submitted,

                                                    /s/ Daniel Chorost
                                                    Daniel Chorost
                                                    SIVE, PAGET & RIESEL P.C.
                                                    560 Lexington Avenue, 15th Floor
                                                    New York, NY 10022
                                                    (212) 421-2150
                                                    dchorost@sprlaw.com

                                                    Counsel for Intervenor-Defendants
                                                    Metropolitan Transportation Authority and
                                                    Triborough Bridge and Tunnel Authority




                                                2
